
192 P.3d 843 (2008)
222 Or. App. 202
STATE of Oregon, Plaintiff-Respondent,
v.
Tracy Scott WALLS, aka Tracey Scott Walls, Defendant-Appellant.
051136800; A132987.
Court of Appeals of Oregon.
Submitted July 3, 2008.
Decided September 3, 2008.
Peter Gartlan, Chief Defender, Legal Services Division, and Kenneth A. Kreuscher, Deputy Public Defender, Office of Public Defense Services, filed the brief for appellant.
Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Susan G. Howe, Senior Assistant Attorney General, filed the brief for respondent.
Before EDMONDS, Presiding Judge, and WOLLHEIM, Judge, and SERCOMBE, Judge.
PER CURIAM.
Defendant appeals a judgment of conviction for possession of cocaine. ORS 475.884. On appeal, he advances two assignments of error: (1) that the trial court erred in denying his motion to suppress evidence obtained as the result of an unlawful seizure of defendant; and (2) that the admission of a crime laboratory report without the testimony of the technician who prepared the report violated his confrontation rights. The state concedes that the seizure of defendant was unlawful and that the trial court therefore erred in denying the motion to suppress. We agree and accept the state's concession.
Because the case must be remanded, we need not address defendant's second assignment of error regarding the admission of the laboratory report.
Reversed and remanded.
